                 IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CASE NO. 3:13-CR-293-MOC-DCK

                                                     )
UNITED STATES OF AMERICA                             )
                                                     )
               v.                                    )       ORDER
                                                     )
GLENTAVIS MCCOREY                                    )
                                                     )


       THIS MATTER IS BEFORE THE COURT on the Defendant’s “Motion To Adopt

Motion To Dismiss Based On Outrageous Law Enforcement Conduct Filed By CoDefendant”

(Document No. 83) filed August 28, 2014. Having carefully reviewed the motion and the record,

the undersigned will grant the motion.

       IT IS, THEREFORE, ORDERED that the Defendant’s “Motion To Adopt Motion To

Dismiss Based On Outrageous Law Enforcement Conduct Filed By CoDefendant” (Document No.

83) is hereby GRANTED.


                                           Signed: August 28, 2014




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